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  10                        UNITED STATES DISTRICT COURT
  11                      CENTRAL DISTRICT OF CALIFORNIA
  12

  13 ROBERT HUNTER BIDEN                            Case No.: 2:23-cv-07593-HVD-KS

  14               Plaintiff(s)                     Honorable Hernan D. Vera
                                                    Magistrate Judge Karen L. Stevenson
  15        v.
                                                    REQUEST FOR JUDICIAL
  16 GARRETT ZIEGLER, an individual;                NOTICE IN SUPPORT OF
     ICU, LLC, a Wyoming limited liability          DEFENDANTS’ MOTION TO
  17 company,                                       DISMISS PURSUANT TO RULES
                                                    12(b)(1), 12(b)(2), 12(b)(3), AND
  18               Defendant(s)                     12(b)(6) OF THE FEDERAL RULES
                                                    OF CIVIL PROCEDURE AND
  19                                                SECTION 425.16 OF THE
                                                    CALIFORNIA CODE OF CIVIL
  20                                                PROCEDURE

  21                                                 Date:    February 15, 2024
                                                     Time:    10:00 a.m.
  22                                                 Ctrm:    5B
  23

  24

  25        Pursuant to Federal Rules of Evidence 201, Defendants request that this Court
  26 take judicial notice of the following official public documents attached hereto:

  27

  28
                                                1
                         DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
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   1        1.       Exhibit 1: A true and correct copy of the complaint in John Paul Mac
   2 Isaac v. Cable News Network, Inc., No. S22C-10-012 CAK, filed in the Superior

   3 Court of the State of Delaware on October 17, 2022.

   4        2.       Exhibit 2: A true and correct copy of Exhibit A attached to the
   5 complaint in John Paul Mac Isaac v. Hunter Biden, et al, 23-cv-00247-MN, filed in

   6 the U.S. District Court for the District of Delaware on March 8, 2023.

   7        3.       Exhibit 3: A true and correct copy of Exhibit B attached to the
   8 complaint in John Paul Mac Isaac v. Hunter Biden, et al, 23-cv-00247-MN, filed in

   9 the U.S. District Court for the District of Delaware on March 8, 2023.

  10        4.       Exhibit 4: A true and correct copy of the transcript of the interview of
  11 Gary A. Shapley, Jr. before the U.S. House of Representatives Ways and Means

  12 Committee, dated May 26, 2023.

  13        5.       Exhibit 5: A true and correct copy of the complaint in Robert Hunter
  14 Biden v. Rudolph W. Giuliani, et al, No. 2:23-cv-08032, filed in the Central District

  15 of California on September 26, 2023.

  16        6.       Exhibit 6: A true and correct copy of an internet news article published
  17 on    October         14,     2020     by     the     New    York     Post,    available   at:
  18 https://nypost.com/2020/10/14/email-reveals-how-hunter-biden-introduced-

  19 ukrainian-biz-man-to-dad/.
  20        7.       Exhibit 7: A true and correct copy of an internet news article published
  21 on      April         8,      2021     by       the     Daily       Mail,     available    at:
  22 https://www.dailymail.co.uk/news/article-9445105/What-Hunter-Biden-left-tell-

  23 memoir-revealed.html.

  24        8.       Exhibit 8: A true and correct copy of an internet news article published
  25 on    June       8,        2022   by    the     Washington      Examiner,      available   at:
  26 https://www.washingtonexaminer.com/policy/technology/168-000-deleted-files-

  27 recovered-from-hunter-bidens-laptop.

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   1        9.     Exhibit 9: A true and correct copy of Merriam-Webster Dictionary’s
   2 definition    of   the    term    “backup,”      available     at:    https://www.merriam-
   3 webster.com/dictionary/backup.

   4        10.    Exhibit 10: A true and correct copy of Cambridge Dictionary’s
   5 definition    of    the    term      “backup,”      available        at:     https://dictionary.
   6 cambridge.org/us/dictionary/english/backup.

   7        11.    Exhibit 11: A true and correct copy of the National Institute of
   8 Standards    and Technology [“NIST”] Special Publication 800-34 Rev. 1,
   9 “Contingency Planning Guide for Federal Information Systems,” a government

  10 publication of NIST. It contains the technical definition of the term “backup,”

  11 available at: https://nvlpubs.nist.gov/nistpubs/legacy/sp/nistspecialpublication800-

  12 34r1.pdf.

  13        12.    Exhibit 12: A true and correct copy of an internet news article published
  14 by     the   Washington      Examiner     on       July      10,     2022,     available     at:
  15 https://www.washingtonexaminer.com/news/white-house/4chan-hunter-biden-

  16 iphone-account.

  17        13.    Exhibit 13: A true and correct copy of the Indictment in United States v.
  18 Robert Hunter Biden, No. 2:23-cr-00599-MCS, filed in the Central District of

  19 California on December 7, 2023.
  20        14.    Exhibit 14: A true and correct copy of MEGA LIMITED Terms of
  21 Service of the affiliated website MEGA.NZ and identifying MEGA LIMITED (New

  22 Zealand company number 7970438) as the owner-operator of website MEGA.NZ,

  23 available at: https://mega.io/terms.

  24        15.    Exhibit 15: A true and correct copy of New Zealand Government
  25 Companies Office website entry containing details for MEGA LIMITED (7970438)

  26 Registered    Limited     Company,     available    at:        https://app.companiesoffice.
  27 govt.nz/companies/app/ui/pages/companies/7970438?backurl=H4sIAAAAAAAAA

  28 C2LQQrCMBBFb5NtBQu1i0FcuelC0At8MoMW2knMTITevqG4%2B%2B%2Fxf
Case 2:23-cv-07593-HDV-KS Document 24 Filed 12/21/23 Page 4 of 5 Page ID #:122




   1 pfxFutiWjN0bssEJX6ua2IhcyijcPAtC4n67C0JXxrG4dSfLwH8g0bhB1QW8lIlHN

   2 X2agej2zT9%2BenwaveSaj70DoWMYQF3AAAA.

   3        16.    Exhibit 16: A true and correct copy of the New Zealand Government
   4 Companies Office Certificate of Incorporation for MEGA LIMITED (7970438),

   5 available    at: https://app.companiesoffice.govt.nz/companies/app/service/services/
   6 documents/D70F343531285ACF4745602D69156BEA/CertIncorporation_7970438

   7 _18December2023.pdf.

   8        17.    Exhibit 17: A true and correct copy of the Answer and Counterclaim of
   9 Defendant Robert Hunter Biden in John Paul Mac Isaac v. Hunter Biden, et al, No.

  10 23-cv-00247-MN, filed in the U.S. District Court for the District of Delaware on

  11 March 17, 2023.

  12        18.    Exhibit 18: A true and correct copy of an internet news article published
  13 on April 2, 2021 by The Hill, available at: https://thehill.com/homenews/

  14 administration/546148-hunter-biden-doesnt-know-if-delaware-laptop-was-his/.

  15        19.    Exhibit 19: A true and correct copy of Exhibit C attached to the
  16 complaint in John Paul Mac Isaac v. Hunter Biden, et al, No. 23-cv-00247-MN, filed

  17 in the U.S. District Court for the District of Delaware on March 8, 2023.

  18        Defendants submit that the documents referenced above are proper for judicial
  19 notice as well as for consideration by this Court. District courts may take judicial
  20 notice of “a fact that is not subject to reasonable dispute because it: (1) is generally

  21 known within the trial court’s territorial jurisdiction; or (2) can be accurately and

  22 readily determined from sources whose accuracy cannot reasonably be questioned.”

  23 Federal Rules of Evidence 201(b); County of Santa Clara v. Trump, 250 F. Supp. 3d

  24 497, 520 (N.D. Cal. 2017) (taking judicial notice of proclamations made by the U.S.

  25 Attorney General Jeff Sessions); Merced Irrigation Dist. v. Cnty. of Mariposa, 941 F.

  26 Supp. 2d 1237, 1261–62 (E.D. Cal. 2013) (taking judicial notice of Board of

  27 Supervisors' resolution as matter of public record); Catholic League for Religious &

  28 Civil Rights v. City & Cnty. of San Francisco, 567 F.3d 595, 606 (9th Cir. 2009), on
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   1 reh'g en banc, 624 F.3d 1043 (9th Cir. 2010) (judicial notice of county board of

   2 supervisors’ actions according to its public resolution). To this end, a court may take

   3 judicial notice “of court filings and other matters of public record,” Reyn’s Pasta

   4 Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006), including

   5 “government documents available from reliable sources on the internet,” California

   6 River Watch v. City of Vacaville, No. 2:17-cv-00524-KJM-KJN, 2017 WL 3840265,

   7 at *2 n.1 (E.D. Cal. Sept. 1, 2017). Judicial notice of information obtained from a

   8 website is proper when neither party questions the authenticity of the site. Pollstar v.

   9 Gigmania, Ltd., 170 F. Supp.2d. 974, 978 (E.D. Cal. 2000).

  10        Here, the attached exhibits are public filings and publicly available records,
  11 which are all proper subjects of judicial notice.

  12
                                           TYLER LAW, LLP
  13 DATED: December 21, 2023

  14
                                           By:
  15                                             Robert H. Tyler, Esq.
                                                 Attorneys for Defendants Garrett Ziegler
  16                                             and ICU, LLC
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